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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                            CASE NO. 05-80810
        Plaintiff,                                          HON. LAWRENCE P. ZATKOFF

 v.

 MICHAEL CLARK, KEVIN YOUNGBLOOD,
 LEON JOHNSON, JAMES JACKSON,
 CHARLES GADSON, et. al.,

        Defendants.

 ____________________________________/


                                     OPINION AND ORDER

                 AT A SESSION of said Court, held in the United States Courthouse,
                   in the City of Port Huron, State of Michigan, on July 12, 2006


                     PRESENT: THE HONORABLE LAWRENCE P. ZATKOFF
                             UNITED STATES DISTRICT JUDGE


                                       I. INTRODUCTION

        This matter is before the Court on Defendants Michael Clark’s, Kevin Youngblood’s, Leon

 Johnson’s, Charles Gadson’s and James Jackson’s Motions for Discovery of Wiretap Surveillance1

 and Motions to Suppress Contents of Intercepted Communications.2         The Government has

 responded. The Court has denied Defendants’ requests for an evidentiary hearing as to these



        1
          See Docket Entries #112, #117, #126, #133, #167, and #200. Regarding Defendant
 Johnson’s Motion for Discovery (#117), Defendant’s attorney indicated at the July 10, 2006
 hearing that he was satisfied with the discovery provided by the Government.
        2
            See Docket Entries #115, #119, #132, #157, #159, and #200.
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 motions. See Docket #181. Additionally, the Court conducted oral argument regarding Defendants’

 Discovery Motions on July 10, 2006. For the reasons set forth below, Defendants’ Motions for

 Discovery of Wiretap Surveillance and Motions to Suppress Contents of Intercepted

 Communications are DENIED.



                                       II. BACKGROUND

 A. The Indictment

        On October 6, 2005, Defendants were charged as part of a 15-defendant and 45-count

 indictment filed by the Government. Pursuant to the indictment, the Government charges that

 Defendants were involved in a conspiracy to sell drugs.

 B. The Investigation

        1. The Confidential Informants

        In December 2004, the Drug Enforcement Agency (“DEA”) opened an investigation against

 Defendant Michael Clark. The investigation was based, in part, upon information obtained from

 four cooperating sources (“CS1" through “CS4"), which indicated that Clark was a major marijuana

 and cocaine drug trafficker operating in the Metro Detroit area. The confidential sources supplied

 the following information.

        CS1 reported to agents that between 2000 and 2004, the source had observed Clark receive

 large amounts of cash on more than 100 occasions, and advised agents that the cash varied from a

 few thousand dollars to more than one-hundred thousand dollars on these occasions. CS1 advised

 that he was aware that the money represented drug trafficking proceeds because he had observed

 Clark distributing multi-kilogram quantities of cocaine on six occasions, and as recently as 2003.


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 CS1 also advised the agents that Clark had shown CS1 the cocaine and offered him the opportunity

 to sell it. In addition, CS1 advised that Clark utilizes his cellular telephones to conduct his drug

 trafficking business.

         CS2, whom the Government asserts is a known reliable cooperating informant for more than

 13 years, also related to agents that he knows Clark to be a violent and dangerous person, who

 utilizes his cellular telephone to conduct his drug trafficking operation, and that Clark utilizes hidden

 compartments to traffic drugs. CS3, another known cooperating source of information, stated that

 Clark utilizes hidden compartments to transport narcotics, including cocaine and marijuana, and that

 he has the capability to distribute approximately 100 kilograms of cocaine weekly.

         CS4, a nine-year cooperating source, advised that he witnessed an individual carry a duffle

 bag full of money from the residence of Jose Terrell, and advised that Terrell has been observed

 distributing cocaine from that residence. After obtaining information from this confidential source,

 the agents discovered two previous investigations related to Clark.3

         Based upon the information provided by CS1 through CS4, and that related to the two

 previous investigations which implicated Clark as a cocaine distributor, the agents obtained a pen

 register to review the toll records for Clark’s telephone. The tolls revealed that Clark routinely


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          The first investigation related to an October 13, 1996 Combined Hotel Interdiction
 Enforcement Team (“CHIEF”) Task Force investigation that revealed that Samuel Montes and
 Victor Vega were residing in a hotel and conducting drug trafficking activities there. CHIEF’s
 surveillance of the individuals led them to one of Clark’s homes. The Task Force witnessed the
 individuals carry four duffel bags from Clark’s residence, and place them in the trunk of their
 vehicle. The duffle bags were later seized and found to contain $723,942.00, and a small
 amount of marijuana.

 The second investigation related to a DEA Seattle investigation involving Alex
 Greenberg, whom advised agents that his primary source of cocaine was Samuel Montes – the
 individual surveilled to and from Clark’s residence on October 13, 1996.

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 received calls to and from major drug trafficking routes, including Arizona, California, New York

 and Nevada. The records also revealed direct communications between Clark and certain target

 subjects.

         2. The Wiretaps

         Due to the sheer volume of the affidavits and applications in support of the numerous

 wiretaps which were authorized in this case, the Court does not believe it is necessary, or possible,

 to detail all of the facts supporting these applications. Instead, for purposes of this Opinion, the

 Court will simply summarize those facts which led Judge Cleland to initially authorize a wiretap in

 this case.

         On February 8, 2005, U.S. District Judge Robert H. Cleland authorized the wire interception

 of oral communications occurring over telephone number (313)522-4325, a prepaid telephone with

 an unknown subscriber, which was believed to be utilized by Defendant Clark. DEA Special Agent

 Caldwell swore to an affidavit in support of the application. The application explained that Agent

 Caldwell was personally involved in the investigation of Clark, and that based on the facts obtained

 from the investigation, there was probable cause to believe that Clark was committing drug offenses.

         In support of the wire application, Agent Caldwell asserted that it would be unlikely that CS1

 and CS2 – the only two sources who had seen Clark with money or narcotics – would be able to

 penetrate Clark’s drug trafficking operation because neither had ever engaged in drug transaction

 with Clark and therefore were not privy to the full-scope of Clark’s drug operation. Agent Caldwell

 also asserted that CS3 could not be utilized in the investigation any further because he had resorted

 to drug trafficking again. In addition, Agent Caldwell averred that CS4 did not know Clark, and had

 only provided information related to Targeted Subject Jose Terrell’s drug trafficking – who


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 communicated with Clark through 55 calls during the toll analysis period. Agent Caldwell further

 averred that physical surveillance of Clark’s home and businesses during a 30-day period yielded

 no information relative to the information provided by the confidential sources. In this regard, the

 agent noted that “agents found it difficult to survey [Clark’s] residences without being detected by

 [Clark’s] friends or associates.” Specifically, the agent noted that during one surveillance, agents

 were forced to terminate the surveillance of Clark’s residence when the Targeted Subjects, Doris

 and Khalil Stewart, exited Clark’s residence and spotted the agents.

        Agent Caldwell also asserted that CS1 and CS2 advised the agent that Clark was “extremely

 surveillance conscious,” and advised that Clark conducts his own counter-surveillance through the

 use of multiple surveillance cameras outside his residence. Based on these facts, Agent Caldwell

 assessed that physical surveillance would be unlikely to yield any information given the fact that

 Clark reportedly conducted his drug trafficking activities utilizing cellular telephones.

        Additionally, Agent Caldwell noted that the toll records could not provide conclusive

 evidence of Clark’s activities, that use of the Grand Jury would compromise the investigation, and

 that use of search warrants would be premature and alert the co-conspirators to the investigation,

 thereby preventing agents from identifying the full scope of the operation and those involved in it.

        Based on the application and affidavit in support, Judge Cleland found that there was

 probable cause to believe that the Targeted Subjects were engaged in the unlawful drug trafficking

 activities, that normal investigative techniques had been employed and explored, but “unlikely to

 succeed, or [would] reasonably [be] unlikely to succeed at trial,”and that authorization of the wire

 would likely produce “admissible evidence of the commission of the offenses.” See Exhibit 3,

 February 8, 2005 Cleland Order, at 2.


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         Over the following months, and based on further applications and affidavits from DEA Agent

 Caldwell, Judge Cleland granted extensions to the initial wiretapping order and also permitted the

 wiretapping of four additional lines (as well as extensions regarding the wiretapping of these lines).



                                            III. ANALYSIS

 A. Motions for Discovery Regarding Wiretap Surveillance

         By their Motions for Discovery, Defendants request discovery of certain portions of the

 wiretap applications and affidavits which have been blacked out. Defendants also request discovery

 of certain periodic reports issued by the Government in support of the wiretaps as well as other

 information which may have influenced the issuing judge’s determination. The Government

 responds by asserting that it has supplied Defendants with all legally required discoverable material,

 and that Defendants have failed to demonstrate a necessity for further discovery. After thoroughly

 reviewing the briefs of the parties as well as conducting oral arguments on this matter, the Court

 agrees with the Government’s position.

         Criminal defendants do not have a broad constitutional right to discovery. See Weatherford

 v. Bursey, 429 U.S. 545, 559 (1977). Instead, criminal defendants are generally limited to that which

 may be discovered under the Brady rule, Rule 16, and the Jencks Act. See United States v. Presser,

 844 F.2d 1275 (6th Cir. 1988). The Court finds that Defendants have not met their burden to show

 that they are entitled to the discovery requested in their Motions and accordingly, the Court

 HEREBY DENIES Defendants’ Motions for Discovery.

         Additionally, regarding the redacted portions in the wiretap applications and affidavits, the

 Court is satisfied that such redacted sections are related to the identity of the confidential informants


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 used in this case, and that Defendants have not shown that they are entitled to this information. The

 Supreme Court explained the “informer’s privilege” in Roviaro v. United States, 353 U.S. 53 (1957).

 The privilege refers to the “the Government's privilege to withhold from disclosure the identity of

 persons who furnish information of violations of law to officers charged with enforcement of that

 law.” Id. at 59 (citations omitted). The Court further explained:

         The purpose of the privilege is the furtherance and protection of the public interest
         in effective law enforcement. The privilege recognizes the obligation of citizens to
         communicate their knowledge of the commission of crimes to law-enforcement
         officials and, by preserving their anonymity, encourages them to perform that
         obligation.

 Id. Nevertheless, the privilege gives way “[w]here the disclosure of an informer's identity, or of the

 contents of his communication, is relevant and helpful to the defense of an accused, or is essential

 to a fair determination of a cause. . . .” Id. at 60.

         The Court finds that Defendants should not be permitted discovery of the redacted portions

 of the wiretap applications and affidavits. Defendants have failed in their burden to show a

 sufficient need for this information and the Court believes that the release of such information may

 compromise the identity of the confidential informants in this case.

 B. Motions to Suppress Contents of Intercepted Communications

         18 U.S.C. § 2518(1) sets forth the procedure for intercepting telephonic communications.

 It states:

         (1) Each application for an order authorizing or approving the interception of a wire,
         oral, or electronic communication under this chapter shall be made in writing upon
         oath or affirmation to a judge of competent jurisdiction and shall state the applicant’s
         authority to make such application. Each application shall include the following
         information:
                 (a) the identity of the investigative or law enforcement officer making the
                 application, and the officer authorizing the application;
                 (b) a full and complete statement of the facts and circumstances relied upon

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                by the applicant, to justify his belief that an order should be issued, including
                         (i) details as to the particular offense that has been, is being, or is
                         about to be committed,
                         (ii) except as provided in subsection (11), a particular description of
                         the nature and location of the facilities from which or the place where
                         the communication is to be intercepted,
                         (iii) a particular description of the type of communications sought to
                         be intercepted,
                         (iv) the identity of the person, if known, committing the offense and
                         whose communications are to be intercepted;
                (c) a full and complete statement as to whether or not other investigative
                procedures have been tried and failed or why they reasonably appear to be
                unlikely to succeed if tried or to be too dangerous;
                (d) a statement of the period of time for which the interception is required to
                be maintained. If the nature of the investigation is such that the authorization
                for interception should not automatically terminate when the described type
                of communication has been first obtained, a particular description of facts
                establishing probable cause to believe that additional communications of the
                same type will occur thereafter;
                (e) a full and complete statement of the facts concerning all previous
                applications known to the individual authorizing and making the application,
                made to any judge for authorization to intercept, or for approval of
                interceptions of, wire, oral, or electronic communications involving any of
                the same persons, facilities or places specified in the application, and the
                action taken by the judge on each such application; and
                (f) where the application is for the extension of an order, a statement setting
                forth the results thus far obtained from the interception, or a reasonable
                explanation of the failure to obtain such results.

 Id. (Emphasis added). Accordingly, pursuant to this statute, in order to authorize a wiretap there

 must be (1) probable cause, and (2) a sufficient investigatory necessity for the wiretap.

        Defendants assert that the wiretap applications failed to satisfy this standard because, though

 they included lengthy affidavits including detailed information, they also contained conclusions

 which appeared to track the statute. See Johnson’s Brief (#119), at 4; see also Clark’s Brief (#157),

 at 8. Based on this, Defendants argue that probable cause did not exist to support the authorization

 of a wiretap. Furthermore, Defendants argue that the affidavits failed to adequately show that other

 methods of investigation had failed and that wiretaps were a necessary part of the investigation. The

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 Court disagrees.

        A district court’s order to intercept electronic communications is presumed proper. See

 United States v. VanMeter, 278 F.3d 1156, 1163 (6th Cir. 2002). A defendant bears the burden of

 overcoming the presumption. Id. Additionally, Courts will accord “great deference” to the

 determinations of an issuing judge when reviewing the validity of an electronic surveillance order.

 United States v. Corrado, 227 F.3d 528, 538 (6th Cir. 2000). “[T]he fact that a later trial judge or

 reviewing court may feel that a different conclusion was appropriate does not require, nor even

 authorize, the suppression of evidence gained through such a warrant.” Id. Additionally, courts will

 accept a district court’s factual findings, unless clearly erroneous. See VanMeter, 278 F.3d at 1163.

        In the present case, Judge Cleland determined that there was probable cause for the initial

 wiretap based on the numerous factual assertions presented in Agent Caldwell’s affidavit in support

 of a wiretap. The affidavit detailed facts from four confidential sources, a pen register, and previous

 investigations into Clark. The affidavit also explained why other investigation techniques had failed

 and why a wiretap was necessary. Based on the facts presented in the application and affidavit, the

 Court finds that Judge Cleland properly concluded that probable cause existed for the authorization

 of the initial wiretap and that the Government had satisfied the requirements of 18 U.S.C. §2518.

 Additionally, the Court finds that based on the facts presented in the subsequent wiretap applications

 and affidavits (which were in part based on facts obtained from the initial wiretap), that Judge

 Cleland properly determined that probable cause existed as to the subsequent wiretap applications.

        For these reasons, the Court finds that the Government satisfied the requirements of 18

 U.S.C. § 2518 in obtaining wiretaps in the present case. Accordingly, Defendants’ Motions to

 Suppress the evidence obtained from these wiretaps should be denied.


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                                      IV. CONCLUSION

        For the above reasons, the Court HEREBY DENIES Defendants’ Motions for Discovery of

 Wiretap Surveillance and Motions to Suppress Contents of Intercepted Communications.

        IT IS SO ORDERED.



                                             s/Lawrence P. Zatkoff
                                             LAWRENCE P. ZATKOFF
                                             UNITED STATES DISTRICT JUDGE

 Dated: July 12, 2006

                                  CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of this Order was served upon the attorneys of
 record by electronic or U.S. mail on July 12, 2006.


                                             s/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290




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